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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                                                 CASE NO.: 17-11415-BKC-RAM
                                                               PROCEEDING UNDER CHAPTER 13

IN RE:

FLERIDA RIVERA

_____________________________/
DEBTOR

    NOTICE OF WITHDRAWAL OF (ECF# 66/67) TRUSTEE'S MOTION TO DISMISS CASE


   Notice is hereby given that the Trustee's Motion to Dismiss Case (ECF# 66/67) filed on behalf of
Trustee Nancy K. Neidich, is hereby withdrawn.

   I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Withdrawal of
Trustee's Motion to Dismiss Case was mailed to those parties listed below on this 24th day of March,
2020.



                                                      /s/ Nancy K. Neidich
                                                     _____________________________________
                                                      NANCY K. NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027-9806
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                                   NOTICE OF WITHDRAWAL OF TRUSTEE'S MOTION TO DISMISS CASE
                                                                  CASE NO.: 17-11415-BKC-RAM

COPIES FURNISHED TO:

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